                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



                                      )
The Estate of Usaamah Abdullah Rahim, )
                                      )
      Plaintiff                       )
                                      )
V.                                    )               Civil Action No. 1:18-cv-11152-IT
                                      )
United States of America, et al.,     )
                                      )
      Defendants                      )
                                      )

        PLAINTIFF’S STATEMENT OF DISPUTED MATERIAL FACTS

       Plaintiff, The Estate of Usaamah A. Rahim, pursuant to Local Rule 56.1,

respectfully submit this Statement of Material Facts in support of her Opposition to

Defendants’ John Doe 1 and the United States of America’s Motions for Summary

Judgment.

       1. Whether law enforcement officers intended to conduct a Terry stop of Mr.

            Rahim when they approached him. Plaintiff’s Exhibit 1 – Dispatch

            Recording Transcript June 2, 2015; John Doe 1’s Exhibit 1 - Sworn Statement

            of John Doe 1; John Doe 1’s Exhibit 2 – Sworn Statement of John Doe 2.

       2. Whether law enforcement officers believed Mr. Rahim was an imminent or

            immediate threat, immediately after their surveillance of a phone call at

            approximately 5:00 AM on June 1, 2015. John Doe 1’s Exhibit 1 - Sworn

            Statement of John Doe 1; John Doe 1’s Exhibit 2 – Sworn Statement of John

            Doe 2.




                                                                                  1 of 4
3. Whether Mr. Rahim was holding a military-style knife and advancing toward

   officers, close enough for a reasonable officer to perceive an immediate

   deadly threat to himself or others. Plaintiff’s Exhibit 2 – Knife Sheath

   Examination Report; Plaintiff’s Exhibit 4 - Email from Criminalist; Plaintiff’s

   Exhibit 5 - BPD Crime Lab Report re Utility Knife; Exhibit 6 – Report of

   Utility Knife Uncovered; Plaintiff’s Exhibit 7 – Transcript of Interview of

   Civilian Witness A; Plaintiff’s Exhibit 8 – Transcript of Interview of Civilian

   Witness B, p. 19-21; Plaintiff’s Exhibit 9 – Transcript of Interview of Civilian

   Witness C, p. 19-20; Plaintiff’s Exhibit 10 – Transcript of Interview – Civilian

   Witness D.

4. Whether Rahim was brandishing a knife, and preparing to strike or attack

   John Doe 2 and John Doe 1. Plaintiff’s Exhibit 8 – Transcript of Interview of

   Civilian Witness B; Plaintiff’s Exhibit 9 – Transcript of Interview of Civilian

   Witness B; Plaintiff’s Exhibit 9 – Transcript of Interview of Civilian Witness

   C, p. 19-20.

5. The distance between Mr. Rahim and law enforcement, specifically John Doe

   1 and John Doe 2, when shots were fired. Plaintiff’s Exhibit 4; Email from

   Criminalist. Plaintiff’s Exhibit 9 – Transcript of Interview of Witness C, p.

   15-16.

6. The manner in which John Doe 2 approached Rahim, namely whether he

   immediately presented his badge, and identified himself as a Boston Police

   Officer. John Doe 1 approaching Mr. Rahim with his weapon already drawn.




                                                                         2 of 4
          John Doe 1’s Exhibit 9 - Surveillance Video of Rahim; Plaintiff’s Exhibit 11 –

          Transcript of Interview – Sargent Witness E, p. 6-10.

      7. Whether officer John Doe 1 and John Doe 2’s weapons were drawn when the

          approached Mr. Rahim. John Doe 1’s Exhibit 9 - Surveillance Video of

          Rahim; John Doe 1’s Exhibit 1 - Sworn Statement of John Doe 1; John Doe

          1’s Exhibit 2 – Sworn Statement of John Doe 2.

      8. Whether Mr. Rahim immediately pulled a large-military style knife from his

          waist area, when he was approached by officers. John Doe 1’s Exhibit 9 -

          Surveillance Video of Rahim; Plaintiff’s Exhibit 7 – Transcript of Interview

          of Civilian Witness A; Plaintiff’s Exhibit 8 – Transcript of Interview of

          Civilian Witness B, p. 19-21; Plaintiff’s Exhibit 9 – Transcript of Interview of

          Civilian Witness C, p. 19-20; Plaintiff’s Exhibit 10 – Transcript of Interview –

          Civilian Witness D.




Dated: February 20, 2019                    Respectfully Submitted
                                            The Estate of Usaamah A. Rahim
                                            By Its Attorneys

                                            /s/ Sara Attarchi
                                            ___________________________
                                            Joseph B. Simons, BBO# 684030
                                            Sara Attarchi, BBO# 697486
                                            SIMONS LAW OFFICE
                                            1 International Place, #1400
                                            Boston, MA 02110
                                            (617) 544-9000
                                            joe@jbsimonslaw.com
                                            sara@jbsimonslaw.com




                                                                                3 of 4
                              CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on
February 20, 2019.

                                               /s/ Sara Attarchi
                                               _________________________
                                               Sara Attarchi




                                                                                    4 of 4
